EXHIBIT 3 to Ps Resp to Ds MotExtDispMotDeadline
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 From:               Nichols, Bryan
 To:                 Valerie Bateman; Trachtman, James
 Subject:            RE: Notice of Appearance: Knechtges v. NC DPS 22 OSP 1750
 Date:               Friday, August 5, 2022 5:52:48 PM


 Thanks Valerie. Since you are taking over this case as well. Can we set up a time early next week to
 discuss?

 We also are still working on the discovery responses that Ms. Knechtges emailed me in this case.

 What is your position on us getting more time to respond? We can provide the discovery in both the
 federal case and the OAH case at the same since they are related.

 Have a great weekend.

 Bryan




                         Bryan G. Nichols
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                         Please note messages to or from this address may be public records.




 From: Valerie Bateman <valerie@newsouthlawfirm.com>
 Sent: Friday, August 05, 2022 3:59 PM
 To: Nichols, Bryan <bnichols@ncdoj.gov>; Trachtman, James <jtrachtman@ncdoj.gov>
 Subject: Notice of Appearance: Knechtges v. NC DPS 22 OSP 1750

 Please see attached, filed today.

 Bryan, working on the document you requested for mediation on the 17th. Thanks.
 Valerie

 If you are neutral in situations of injustice, you have chosen the side of the oppressor. -Desmond Tutu




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